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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

COMMODITY FUTURES TRADING                               §
COMMISSION,                                             §
                                                        §
                 Plaintiff,                             §
                                                        §
v.                                                      §                    1:20-CV-908-RP
                                                        §
DAVID CARTU, JONATHAN CARTU,                            §
JOSHUA CARTU, RYAN MASTEN,                              §
LEEAV PERETZ, NATI PERETZ,                              §
ALL OUT MARKETING LIMITED,                              §
BAREIT MEDIA LLC d/b/a SIGNALPUSH,                      §
BLUE MOON INVESTMENTS LTD., and                         §
ORLANDO UNION INC.,                                     §
                                                        §
                 Defendants.                            §


                                                  ORDER

        On March 3, 2023, Plaintiff dismissed all claims against Defendants David Cartu, Joshua

Cartu, and Orlando Union, Inc. in this case without prejudice. (Dkt. 90). Rule 41(a)(1)(A)(i) allows a

plaintiff to voluntarily dismiss an action without a court order by filing a notice of dismissal before

the opposing party serves an answer or a motion for summary judgment. Fed. R. Civ. P.

41(a)(1)(A)(i). Defendants have not served answers or motions for summary judgment. Plaintiff’s

notice is therefore “self-effectuating and terminates the case in and of itself; no order or other action

of the district court is required.” In re Amerijet Int’l, Inc., 785 F.3d 967, 973 (5th Cir. 2015), as revised

(May 15, 2015). IT IS ORDERED that Plaintiff’s claims against Defendants David Cartu, Jonathan

Cartu, and Orlando Union, Inc. are DISMISSED without prejudice.

        SIGNED on March 6, 2023.

                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
